                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION
    SARAH WATKINS

                           ,           )
              Plaintiff (s),           )
                                       )
                                                       4:21-cv-01344
      v.                               )    Case No.
                                       )
CITY OF ST. LOUIS, ET
          AL.
                                       )
                        ,              )
              Defendant(s).            )

                                   NOTICE OF INTENT TO USE
                                      PROCESS SERVER
                   SARAH WATKINS
Comes now                       and notifies the court of the intent to use
         (Plaintiff or Defendant)
             TIM MOORE, PROSERVE

      (name and address of process server)
            6614 Clayton Road, #311


              St Louis, MO 63117


               CITY OF ST. LOUIS, ANDREW METCALF, BRYANT
To serve:        MORRIS, DARRYL BAKER, JUSTIN COLOMBO,
                  FREDERICK THOMPSON, ANTHONY THOMPSON    in the
      (name of defendants to be served by this process server)

above-styled cause. The process server listed above possesses the

requirements as stated in Rule 4 of the Federal Rules of Civil Procedure.

The undersigned affirms the information provided above is true and correct.
     11/29/2021                                   /S/ R. TYSON MUTRUX

      (date)                                (attorney for Plaintiff)


                                            (attorney for Defendant)
